     Case 2:20-cv-07418-FMO-SK Document 17 Filed 10/28/20 Page 1 of 1 Page ID #:46



1

2

3

4

5

6

7                                     UNITED STATES DISTRICT COURT
8                                CENTRAL DISTRICT OF CALIFORNIA
9

10   MIGUEL HERNANDEZ,                          )   Case No. CV 20-7418 FMO (SKx)
                                                )
11                       Plaintiff,             )
                                                )
12                v.                            )   JUDGMENT
                                                )
13   RATANA SANAKUL, et al.,                    )
                                                )
14                                              )
                                                )
15                       Defendants.            )
                                                )
16

17         IT IS ADJUDGED that the above-captioned case is dismissed without prejudice.
18   Dated this 28th day of October, 2020.
                                                                         /s/
19                                                               Fernando M. Olguin
                                                             United States District Judge
20

21

22

23

24

25

26

27

28
